             Case 2:15-cv-01916-DJC-DB Document 78 Filed 06/28/24 Page 1 of 1


1    HEATHER E. WILLIAMS, State Bar #122664
     Federal Defender
2    KARL SADDLEMIRE, State Bar #275856
     Assistant Federal Defender
3    DAVID HARSHAW, KY Bar #86435
     Assistant Federal Defender
4    801 I Street, 3rd Floor
5    Sacramento, CA 95814
     Telephone: (916) 498-6666
6    Facsimile:      (916) 498-6656
     Email:          karl_saddlemire@fd.org
7                    david_harshaw@fd.org

8    Attorneys for Petitioner
     DENNIS N. ERVINE
9
                                     IN THE UNITED STATES DISTRICT COURT
10
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13    DENNIS NEWTON ERVINE,                                     Case No. 2:15-cv-01916-DJC-DB

14                      Petitioner,                             DEATH PENALTY CASE

15    v.                                                        ORDER ON PETITIONER’S
                                                                UNOPPOSED MOTION FOR THIRD
16    WARDEN of San Quentin State Prison,                       EXTENSION OF TIME FOR LEAVE
                                                                TO FILE RESPONSE TO
17                      Respondent.                             GOVERNMENT’S MOTION TO
18                                                              DISMISS

19
20             Good cause appearing, petitioner’s unopposed motion for a third extension of time (ECF

21   No. 77) is granted. Petitioner shall file his response to the motion to dismiss by August 2, 2024.

22             IT IS SO ORDERED.
23   Dated: June 27, 2024
24
25
26
27
     DLB:9/DB prisoner inbox/capital/R/ervine mtd oppo eot(3)
28
